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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


GLORIA TANKESLY,

                       Plaintiff,


  v.                                                               No. 18-cv-00996-SMV-KRS

J.C. PENNEY CORPORATION, INC.,

                       Defendants.


                         NOTICE OF IMPENDING REASSIGNMENT

       Pursuant to FED. R. CIV. P. 73(b)(2), the parties are reminded that the undersigned was

assigned as presiding judge in this matter, pursuant to 28 U.S.C. § 636(c). One or more of the

parties has yet to file a written consent or refusal to consent.

       The parties are advised that this matter will be reassigned to a district judge as presiding

judge if written consents from all parties have not been filed by December 17, 2018.

       The parties are free to withhold consent. No adverse consequences will result from any

party’s failure or refusal to consent.




                                                       STEPHAN M. VIDMAR
                                                       United States Magistrate Judge
